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           16
                                    UNITED STATES DISTRICT COURT
           17
                          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,                  PROPOSED STATEMENT OF
                    a Delaware corporation,                       UNCONTROVERTED FACTS AND
           21                                                     CONCLUSIONS OF LAW IN
                                       Plaintiffs,                SUPPORT OF APPLE’S MOTION
           22                                                     FOR PARTIAL SUMMARY
                          v.                                      JUDGMENT ON PLAINTIFFS’
           23                                                     TRADE SECRET CLAIM AND
                    APPLE INC.,                                   PLAINTIFFS’ LOST PROFITS
           24       a California corporation,                     DAMAGES THEORY
           25                          Defendant.
                                                                  Date: February 6, 2023
           26                                                     Time: 1:30pm
                                                                  Pre-Trial Conference: Mar. 13, 2023
           27                                                     Trial: Mar. 27, 2023
           28           5('$&7('9(56,212)7+('2&80(17352326('72%(),/('81'(56($/
                     APPLE’S PROPOSED STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW ISO
Wilmer Cutler
                     MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM AND LOST PROFITS
Pickering Hale
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             1                 Pursuant to Local Rule 56-1, Defendant Apple Inc. (“Apple”) respectfully
             2      submits the following Statement of Uncontroverted Facts and Conclusions of Law in
             3      support of Apple’s Motion For Partial Summary Judgment.
             4            I.   STATEMENT OF UNCONTROVERTED FACTS
             5                  a. Plaintiffs have failed to present evidence sufficient for a reasonable
             6                     jury to conclude they had possession of the Alleged Trade Secrets.
             7
                     No.            Fact                                              Evidence
             8
                     1.             Plaintiffs have not identified evidence           Passamaneck Decl. Ex.
             9
                                    showing they had possession of                    17, ¶¶ 23-25, 66-87.
           10
                                                                          Trade
           11
                                    Secret No. 1 in its entirety at the time of the
           12
                                    alleged misappropriation.
           13
                     2.             Plaintiffs have not identified evidence           Passamaneck Decl. Ex.
           14
                                    showing they had possession of                    17, ¶¶ 23-25, 196-212.
           15
                                                                          Trade
           16
                                    Secret No. 3 in its entirety at the time of the
           17
                                    alleged misappropriation.
           18
                     3.             Plaintiffs have not identified evidence           Passamaneck Decl. Ex.
           19
                                    showing they had possession of                    17, ¶¶ 23-25, 243-255.
           20
                                                                          Trade
           21
                                    Secret No. 8 in its entirety at the time of the
           22
                                    alleged misappropriation.
           23
                     4.             Plaintiffs have not identified evidence           Passamaneck Decl. Ex.
           24
                                    showing they had possession of                    17, ¶¶ 23-25, 284-299.
           25
                                                                          Trade
           26
                                    Secret No. 9 in its entirety at the time of the
           27
           28
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             1
                                 alleged misappropriation.
             2
                     5.          Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             3
                                 showing they had possession of                  17, ¶¶ 23-25, 325-340.
             4
                                                                      Trade
             5
                                 Secret No. 10 in its entirety at the time of
             6
                                 the alleged misappropriation.
             7
                     6.          Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             8
                                 showing they had possession of                  17, ¶¶ 23-25, 364-375.
             9
                                                                      Trade
           10
                                 Secret No. 11 in its entirety at the time of
           11
                                 the alleged misappropriation.
           12
                     7.          Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           13
                                 showing they had possession of                  17, ¶¶ 23-25, 400-411.
           14
                                                                      Trade
           15
                                 Secret No. 12 in its entirety at the time of
           16
                                 the alleged misappropriation.
           17
                     8.          Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           18
                                 showing they had possession of                  17, ¶¶ 23-25, 435-446.
           19
                                                                      Trade
           20
                                 Secret No. 13 in its entirety at the time of
           21
                                 the alleged misappropriation.
           22
                     9.          Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           23
                                 showing they had possession of                  17, ¶¶ 23-25, 470-481.
           24
                                                                      Trade
           25
                                 Secret No. 14 in its entirety at the time of
           26
                                 the alleged misappropriation.
           27
           28
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             1
                     10.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             2
                                 showing they had possession of                  17, ¶¶ 23-25, 506-517.
             3
                                                                      Trade
             4
                                 Secret No. 15 in its entirety at the time of
             5
                                 the alleged misappropriation.
             6
                     11.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             7
                                 showing they had possession of                  17, ¶¶ 23-25, 542-546.
             8
                                                                      Trade
             9
                                 Secret No. 16 in its entirety at the time of
           10
                                 the alleged misappropriation.
           11
                     12.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           12
                                 showing they had possession of                  19, ¶¶ 55-72.
           13
                                        Trade Secret No. 4 in its entirety at
           14
                                 the time of the alleged misappropriation.
           15
                     13.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           16
                                 showing they had possession of                  19, ¶¶ 138-149.
           17
                                        Trade Secret No. 5 in its entirety at
           18
                                 the time of the alleged misappropriation.
           19
                     14.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           20
                                 showing they had possession of                  19, ¶¶ 233-243.
           21
                                        Trade Secret No. 7 in its entirety at
           22
                                 the time of the alleged misappropriation.
           23
                     15.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           24
                                 showing they had possession of                  19, ¶¶ 272-283.
           25
                                        Trade Secret No. 8 in its entirety at
           26
                                 the time of the alleged misappropriation.
           27
           28
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             1
                     16.         Plaintiffs have not identified evidence            Passamaneck Decl. Ex.
             2
                                 showing they had possession of                     19, ¶¶ 320-325.
             3
                                           Trade Secret No. 10 in its entirety at
             4
                                 the time of the alleged misappropriation.
             5
                     17.         Plaintiffs have not identified evidence            Passamaneck Decl. Ex.
             6
                                 showing they had possession of                     19, ¶¶ 332, 339-362.
             7
                                               Trade Secret No. 4 in its entirety
             8
                                 at the time of the alleged misappropriation.
             9
                     18.                              Trade Secret No. 5            Dkt. 296-1, ¶ 42.5.
           10
                                 incorporates                       Trade Secret
           11
                                 No. 4.
           12
                     19.         Plaintiffs have not identified evidence            Statement of
           13
                                 showing they had possession of                     Uncontroverted Fact
           14
                                               Trade Secret No. 5 in its entirety   (“SUF”) Nos. 17 and 18.
           15
                                 at the time of the alleged misappropriation.
           16
                     20.                              Trade Secret No. 6            Dkt. 296-1, ¶ 42.6.
           17
                                 incorporates                       Trade Secret
           18
                                 No. 4.
           19
                     21.         Plaintiffs have not identified evidence            SUF Nos. 17 and 20.
           20
                                 showing they had possession of
           21
                                               Trade Secret No. 6 in its entirety
           22
                                 at the time of the alleged misappropriation.
           23
                     22.         Plaintiffs have not identified evidence            Passamaneck Decl. Ex.
           24
                                 showing they had possession of                     21, ¶¶ 30, 32-38; Ex. 22,
           25
                                               Trade Secret No. 1 in its entirety   ¶¶ 127-143.
           26
                                 at the time of the alleged misappropriation.
           27
           28
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             1
                     23.                                 Trade Secret No. 2      Dkt. 296-1, ¶ 43.2.
             2
                                 incorporates                         Trade
             3
                                 Secret No. 1.
             4
                     24.         Plaintiffs have not identified evidence         SUF Nos. 22 and 23.
             5
                                 showing they had possession of
             6
                                            Trade Secret No. 2 in its entirety
             7
                                 at the time of the alleged misappropriation.
             8
                     25.                                 Trade Secret No. 3      Dkt. 296-1, ¶ 43.3.
             9
                                 incorporates                         Trade
           10
                                 Secret No. 1.
           11
                     26.         Plaintiffs have not identified evidence         SUF Nos. 22 and 25.
           12
                                 showing they had possession of
           13
                                            Trade Secret No. 3 in its entirety
           14
                                 at the time of the alleged misappropriation.
           15
                     27.                                 Trade Secret No. 4      Dkt. 296-1, ¶ 43.4.
           16
                                 incorporates                         Trade
           17
                                 Secret No. 1.
           18
                     28.         Plaintiffs have not identified evidence         SUF Nos. 22 and 27.
           19
                                 showing they had possession of
           20
                                            Trade Secret No. 4 in its entirety
           21
                                 at the time of the alleged misappropriation.
           22
                     29.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           23
                                 showing they had possession of                  21, ¶¶ 235-236, 238; Ex.
           24
                                            Trade Secret No. 6 in its entirety   22, ¶ 156.
           25
                                 at the time of the alleged misappropriation.
           26
                     30.                                 Trade Secret No. 7      Dkt. 296-1, ¶ 43.7.
           27
           28
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             1
                                 incorporates                         Trade
             2
                                 Secret Nos. 1 and 6.
             3
                     31.         Plaintiffs have not identified evidence          SUF Nos. 22, 29 and 30.
             4
                                 showing they had possession of
             5
                                            Trade Secret No. 7 in its entirety
             6
                                 at the time of the alleged misappropriation.
             7
                     32.                                  Trade Secret No. 7      Dkt. 296-1, ¶ 43.8.
             8
                                 incorporates
             9
                                 Secret Nos. 1 and 6.
           10
                     33.         Plaintiffs have not identified evidence          SUF Nos. 22, 29 and 32.
           11
                                 showing they had possession of
           12
                                            Trade Secret No. 8 in its entirety
           13
                                 at the time of the alleged misappropriation.
           14
                     34.         Plaintiffs have not identified evidence          Passamaneck Decl. Ex.
           15
                                 showing they had possession of                   21, ¶¶ 265-269, Ex. 22,
           16
                                             Trade Secret No. 5 in its entirety   ¶¶ 160-166.
           17
                                 at the time of the alleged misappropriation.
           18
                     35.                                Trade Secret No. 6        Dkt. 296-1, ¶ 44.6.
           19
                                 incorporates                       Trade
           20
                                 Secret No. 5.
           21
                     36.         Plaintiffs have not identified evidence          SUF Nos. 34 and 35.
           22
                                 showing they had possession of
           23
                                             Trade Secret No. 6 in its entirety
           24
                                 at the time of the alleged misappropriation.
           25
                     37.                                Trade Secret No. 7        Dkt. 296-1, ¶ 44.7.
           26
                                 incorporates                       Trade
           27
           28
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             1
                                 Secret No. 5.
             2
                     38.         Plaintiffs have not identified evidence          SUF Nos. 34 and 37.
             3
                                 showing they had possession of
             4
                                             Trade Secret No. 7 in its entirety
             5
                                 at the time of the alleged misappropriation.
             6
             7
                             b. Plaintiffs have failed to present evidence sufficient for a reasonable
             8
                                 jury to determine which entity, if any, possessed which of the Alleged
             9
                                 Trade Secrets.
           10
           11        No.         Fact                                             Evidence
           12        39.         Plaintiffs have not identified evidence          Passamaneck Decl. Ex.
           13                    showing which Plaintiff had possession of        17, ¶ 67; Ex. 1; Ex. 2;
           14                                                         Trade       Ex. 4; Ex. 5; Ex. 6; Ex.
           15                    Secret No. 1 at the time of the alleged          8; Ex. 9.
           16                    misappropriation.
           17        40.         Plaintiffs have not identified evidence          Passamaneck Decl. Ex.
           18                    showing which Plaintiff had possession of        17, ¶ 197; Ex. 1; Ex. 2;
           19                                                         Trade       Ex. 4; Ex. 5; Ex. 6; Ex.
           20                    Secret No. 3 at the time of the alleged          8; Ex. 9.
           21                    misappropriation.
           22        41.         Plaintiffs have not identified evidence          Passamaneck Decl. Ex.
           23                    showing which Plaintiff had possession of        17, ¶ 244; Ex. 1; Ex. 2;
           24                                                         Trade       Ex. 4; Ex. 5; Ex. 6; Ex.
           25                    Secret No. 8 at the time of the alleged          8; Ex. 9.
           26                    misappropriation.
           27        42.         Plaintiffs have not identified evidence          Passamaneck Decl. Ex.
           28
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             1
                             showing which Plaintiff had possession of       17, ¶ 285; Ex. 1; Ex. 2;
             2
                                                                  Trade      Ex. 4; Ex. 5; Ex. 6; Ex.
             3
                             Secret No. 9 at the time of the alleged         8; Ex. 9.
             4
                             misappropriation.
             5
                 43.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             6
                             showing which Plaintiff had possession of       17, ¶ 326; Ex. 1; Ex. 2;
             7
                                                                  Trade      Ex. 4; Ex. 5; Ex. 6; Ex.
             8
                             Secret No. 10 at the time of the alleged        8; Ex. 9.
             9
                             misappropriation.
           10
                 44.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           11
                             showing which Plaintiff had possession of       17, ¶ 365; Ex. 1; Ex. 2;
           12
                                                                  Trade      Ex. 4; Ex. 5; Ex. 6; Ex.
           13
                             Secret No. 11 at the time of the alleged        8; Ex. 9.
           14
                             misappropriation.
           15
                 45.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           16
                             showing which Plaintiff had possession of       17, ¶ 401; Ex. 1; Ex. 2;
           17
                                                                  Trade      Ex. 4; Ex. 5; Ex. 6; Ex.
           18
                             Secret No. 12 at the time of the alleged        8; Ex. 9.
           19
                             misappropriation.
           20
                 46.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           21
                             showing which Plaintiff had possession of       17, ¶ 436; Ex. 1; Ex. 2;
           22
                                                                  Trade      Ex. 4; Ex. 5; Ex. 6; Ex.
           23
                             Secret No. 13 at the time of the alleged        8; Ex. 9.
           24
                             misappropriation.
           25
                 47.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           26
                             showing which Plaintiff had possession of       17, ¶ 471; Ex. 1; Ex. 2;
           27
           28
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             1
                                                                  Trade      Ex. 4; Ex. 5; Ex. 6; Ex.
             2
                             Secret No. 14 at the time of the alleged        8; Ex. 9.
             3
                             misappropriation.
             4
                 48.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             5
                             showing which Plaintiff had possession of       17, ¶ 507; Ex. 1; Ex. 2;
             6
                                                                  Trade      Ex. 4; Ex. 5; Ex. 6; Ex.
             7
                             Secret No. 15 at the time of the alleged        8; Ex. 9.
             8
                             misappropriation.
             9
                 49.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           10
                             showing which Plaintiff had possession of       17, ¶¶ 67, 152, 197, 244,
           11
                                                                  Trade      285, 326, 365, 401, 436,
           12
                             Secret No. 16 at the time of the alleged        471, 507; Ex. 1; Ex. 2;
           13
                             misappropriation.                               Ex. 4; Ex. 5; Ex. 6; Ex.
           14
                                                                             8; Ex. 9.
           15
                 50.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           16
                             showing which Plaintiff had possession of       19, ¶ 55; Ex. 1; Ex. 2;
           17
                                           Trade Secret No. 4 at the time    Ex. 4; Ex. 5; Ex. 6; Ex.
           18
                             of the alleged misappropriation.                8; Ex. 9.
           19
                 51.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           20
                             showing which Plaintiff had possession of       19, ¶ 138; Ex. 1; Ex. 2;
           21
                                           Trade Secret No. 5 at the time    Ex. 4; Ex. 5; Ex. 6; Ex.
           22
                             of the alleged misappropriation.                8; Ex. 9.
           23
                 52.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           24
                             showing which Plaintiff had possession of       19, ¶ 233; Ex. 1; Ex. 2;
           25
                                           Trade Secret No. 7 at the time    Ex. 4; Ex. 5; Ex. 6; Ex.
           26
                             of the alleged misappropriation.                8; Ex. 9.
           27
           28
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             1
                 53.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             2
                             showing which Plaintiff had possession of       19, ¶ 272; Ex. 1; Ex. 2;
             3
                                           Trade Secret No. 8 at the time    Ex. 4; Ex. 5; Ex. 6; Ex.
             4
                             of the alleged misappropriation.                8; Ex. 9.
             5
                 54.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             6
                             showing which Plaintiff had possession of       19, ¶¶ 55, 138, 190, 233,
             7
                                           Trade Secret No. 10 at the time 272, 321; Ex. 1; Ex. 2;
             8
                             of the alleged misappropriation.                Ex. 4; Ex. 5; Ex. 6; Ex.
             9
                                                                             8; Ex. 9.
           10
                 55.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           11
                             showing which Plaintiff had possession of       19, ¶ 339; Ex. 1; Ex. 2;
           12
                                                Trade Secret No. 4 at the    Ex. 4; Ex. 5; Ex. 6; Ex.
           13
                             time of the alleged misappropriation.           8; Ex. 9.
           14
                 56.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           15
                             showing which Plaintiff had possession of       19, ¶ 406; Ex. 1; Ex. 2;
           16
                                                Trade Secret No. 5 at the    Ex. 4; Ex. 5; Ex. 6; Ex.
           17
                             time of the alleged misappropriation.           8; Ex. 9.
           18
                 57.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           19
                             showing which Plaintiff had possession of       19, ¶¶ 339, 406, 423;
           20
                                                Trade Secret No. 6 at the    Ex. 1; Ex. 2; Ex. 4; Ex.
           21
                             time of the alleged misappropriation.           5; Ex. 6; Ex. 8; Ex. 9.
           22
                 58.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           23
                             showing which Plaintiff had possession of       21, ¶ 31; Ex. 22, ¶ 123
           24
                                                     Trade Secret No. 1 at n.180; Ex. 1; Ex. 2; Ex.
           25
                             the time of the alleged misappropriation.       4; Ex. 5; Ex. 6; Ex. 8;
           26
                                                                             Ex. 9.
           27
           28
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             1
                 59.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             2
                             showing which Plaintiff had possession of       21, ¶¶ 31, 89; Ex. 22, ¶
             3
                                                     Trade Secret No. 2 at 123 n.180; Ex. 1; Ex. 2;
             4
                             the time of the alleged misappropriation.       Ex. 4; Ex. 5; Ex. 6; Ex.
             5
                                                                             8; Ex. 9.
             6
                 60.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             7
                             showing which Plaintiff had possession of       21, ¶¶ 31, 138; Ex. 22, ¶
             8
                                                     Trade Secret No. 3 at 123 n.180; Ex. 1; Ex. 2;
             9
                             the time of the alleged misappropriation.       Ex. 4; Ex. 5; Ex. 6; Ex.
           10
                                                                             8; Ex. 9.
           11
                 61.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           12
                             showing which Plaintiff had possession of       21, ¶¶ 31, 188; Ex. 22, ¶
           13
                                                     Trade Secret No. 4 at 123 n.180; Ex. 1; Ex. 2;
           14
                             the time of the alleged misappropriation.       Ex. 4; Ex. 5; Ex. 6; Ex.
           15
                                                                             8; Ex. 9.
           16
                 62.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           17
                             showing which Plaintiff had possession of       21, ¶ 234, 236 & n.162;
           18
                                                     Trade Secret No. 6 at Ex. 22, ¶ 123 n.180; Ex.
           19
                             the time of the alleged misappropriation.       1; Ex. 2; Ex. 4; Ex. 5;
           20
                                                                             Ex. 6; Ex. 8; Ex. 9.
           21
                 63.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           22
                             showing which Plaintiff had possession of       21, ¶¶ 31, 89, 138, 188,
           23
                                                     Trade Secret No. 7 at 234, 236 & n.162, 261;
           24
                             the time of the alleged misappropriation.       Ex. 22, ¶ 123 n.180; Ex.
           25
                                                                             1; Ex. 2; Ex. 4; Ex. 5;
           26
                                                                             Ex. 6; Ex. 8; Ex. 9.
           27
           28
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             1
                 64.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             2
                             showing which Plaintiff had possession of       21, ¶¶ 31, 89, 138, 188,
             3
                                                     Trade Secret No. 8 at 234, 261; Ex. 22, ¶ 123
             4
                             the time of the alleged misappropriation.       n.180; Ex. 1; Ex. 2; Ex.
             5
                                                                             4; Ex. 5; Ex. 6; Ex. 8;
             6
                                                                             Ex. 9.
             7
                 65.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
             8
                             showing which Plaintiff had possession of       21, ¶ 264; Ex. 22, ¶ 123
             9
                                                  Trade Secret No. 5 at      n.180; Ex. 1; Ex. 2; Ex.
           10
                             the time of the alleged misappropriation.       4; Ex. 5; Ex. 6; Ex. 8;
           11
                                                                             Ex. 9.
           12
                 66.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           13
                             showing which Plaintiff had possession of       21, ¶¶ 264, 297; Ex. 22,
           14
                                                  Trade Secret No. 6 at      ¶ 123 n.180; Ex. 1; Ex.
           15
                             the time of the alleged misappropriation.       2; Ex. 4; Ex. 5; Ex. 6;
           16
                                                                             Ex. 8; Ex. 9.
           17
                 67.         Plaintiffs have not identified evidence         Passamaneck Decl. Ex.
           18
                             showing which Plaintiff had possession of       21, ¶¶ 264, 297; Ex. 22,
           19
                                                  Trade Secret No. 7 at      ¶ 123 n.180; Ex. 1; Ex.
           20
                             the time of the alleged misappropriation.       2; Ex. 4; Ex. 5; Ex. 6;
           21
                                                                             Ex. 8; Ex. 9.
           22
           23            c. Plaintiffs have not presented evidence sufficient for a reasonable jury
           24                to determine that they had ownership of the Alleged Trade Secrets.
           25
                 No.         Fact                                            Evidence
           26
                 68.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           27
           28
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             1
                             Plaintiffs had ownership of                     17, ¶ 67; Ex. 1; Ex. 2;
             2
                                                  Trade Secret No. 1 at      Ex. 4; Ex. 5; Ex. 6; Ex.
             3
                             the time of the alleged misappropriation.       8; Ex. 9.
             4
                 69.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
             5
                             Plaintiffs had ownership of                     17, ¶ 197; Ex. 1; Ex. 2;
             6
                                                  Trade Secret No. 3 at      Ex. 4; Ex. 5; Ex. 6; Ex.
             7
                             the time of the alleged misappropriation.       8; Ex. 9.
             8
                 70.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
             9
                             Plaintiffs had ownership of                     17, ¶ 244; Ex. 1; Ex. 2;
           10
                                                  Trade Secret No. 8 at      Ex. 4; Ex. 5; Ex. 6; Ex.
           11
                             the time of the alleged misappropriation.       8; Ex. 9.
           12
                 71.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           13
                             Plaintiffs had ownership of                     17, ¶ 285; Ex. 1; Ex. 2;
           14
                                                  Trade Secret No. 9 at      Ex. 4; Ex. 5; Ex. 6; Ex.
           15
                             the time of the alleged misappropriation.       8; Ex. 9.
           16
                 72.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           17
                             Plaintiffs had ownership of                     17, ¶ 326; Ex. 1; Ex. 2;
           18
                                                  Trade Secret No. 10 at     Ex. 4; Ex. 5; Ex. 6; Ex.
           19
                             the time of the alleged misappropriation.       8; Ex. 9.
           20
                 73.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           21
                             Plaintiffs had ownership of                     17, ¶ 365; Ex. 1; Ex. 2;
           22
                                                  Trade Secret No. 11 at     Ex. 4; Ex. 5; Ex. 6; Ex.
           23
                             the time of the alleged misappropriation.       8; Ex. 9.
           24
                 74.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           25
                             Plaintiffs had ownership of                     17, ¶ 401; Ex. 1; Ex. 2;
           26
                                                  Trade Secret No. 12 at     Ex. 4; Ex. 5; Ex. 6; Ex.
           27
           28
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             1
                             the time of the alleged misappropriation.       8; Ex. 9.
             2
                 75.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
             3
                             Plaintiffs had ownership of                     17, ¶ 436; Ex. 1; Ex. 2;
             4
                                                  Trade Secret No. 13 at     Ex. 4; Ex. 5; Ex. 6; Ex.
             5
                             the time of the alleged misappropriation.       8; Ex. 9.
             6
                 76.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
             7
                             Plaintiffs had ownership of                     17, ¶ 471; Ex. 1; Ex. 2;
             8
                                                  Trade Secret No. 14 at     Ex. 4; Ex. 5; Ex. 6; Ex.
             9
                             the time of the alleged misappropriation.       8; Ex. 9.
           10
                 77.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           11
                             Plaintiffs had ownership of                     17, ¶ 507; Ex. 1; Ex. 2;
           12
                                                  Trade Secret No. 15 at     Ex. 4; Ex. 5; Ex. 6; Ex.
           13
                             the time of the alleged misappropriation.       8; Ex. 9.
           14
                 78.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           15
                             Plaintiffs had ownership of                     17, ¶¶ 67, 152, 197, 244,
           16
                                                  Trade Secret No. 16 at     285, 326, 365, 401, 436,
           17
                             the time of the alleged misappropriation.       471, 507; Ex. 1; Ex. 2;
           18
                                                                             Ex. 4; Ex. 5; Ex. 6; Ex.
           19
                                                                             8; Ex. 9.
           20
                 79.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           21
                             Plaintiffs had ownership of                     19, ¶ 55; Ex. 1; Ex. 2;
           22
                             Trade Secret No. 4 at the time of the alleged Ex. 4; Ex. 5; Ex. 6; Ex.
           23
                             misappropriation.                               8; Ex. 9.
           24
                 80.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           25
                             Plaintiffs had ownership of                     19, ¶ 138; Ex. 1; Ex. 2;
           26
                             Trade Secret No. 5 at the time of the alleged Ex. 4; Ex. 5; Ex. 6; Ex.
           27
           28
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             1
                             misappropriation.                               8; Ex. 9.
             2
                 81.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
             3
                             Plaintiffs had ownership of                     19, ¶ 233; Ex. 1; Ex. 2;
             4
                             Trade Secret No. 7 at the time of the alleged Ex. 4; Ex. 5; Ex. 6; Ex.
             5
                             misappropriation.                               8; Ex. 9.
             6
                 82.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
             7
                             Plaintiffs had ownership of                     19, ¶ 272; Ex. 1; Ex. 2;
             8
                             Trade Secret No. 8 at the time of the alleged Ex. 4; Ex. 5; Ex. 6; Ex.
             9
                             misappropriation.                               8; Ex. 9.
           10
                 83.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           11
                             Plaintiffs had ownership of                     19, ¶¶ 55, 138, 190, 233,
           12
                             Trade Secret No. 10 at the time of the          272, 321; Ex. 6; Ex. 1;
           13
                             alleged misappropriation.                       Ex. 2; Ex. 8; Ex. 9; Ex.
           14
                                                                             4; Ex. 5.
           15
                 84.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           16
                             Plaintiffs had ownership of                     19, ¶ 339; Ex. 1; Ex. 2;
           17
                                        Trade Secret No. 4 at the time of    Ex. 4; Ex. 5; Ex. 6; Ex.
           18
                             the alleged misappropriation.                   8; Ex. 9.
           19
                 85.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           20
                             Plaintiffs had ownership of                     19, ¶ 406; Ex. 1; Ex. 2;
           21
                                        Trade Secret No. 5 at the time of    Ex. 4; Ex. 5; Ex. 6; Ex.
           22
                             the alleged misappropriation.                   8; Ex. 9.
           23
                 86.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           24
                             Plaintiffs had ownership of                     19, ¶¶ 339, 406, 423;
           25
                                        Trade Secret No. 6 at the time of    Ex. 1; Ex. 2; Ex. 4; Ex.
           26
                             the alleged misappropriation.                   5; Ex. 6; Ex. 8; Ex. 9.
           27
           28
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             1
                 87.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
             2
                             Plaintiffs had ownership of                     21, ¶ 31; Ex. 22, ¶ 123
             3
                                        Trade Secret No. 1 at the time of    n.180; Ex. 1; Ex. 2; Ex.
             4
                             the alleged misappropriation.                   4; Ex. 5; Ex. 6; Ex. 8;
             5
                                                                             Ex. 9.
             6
                 88.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
             7
                             Plaintiffs had ownership of                     21, ¶¶ 31, 89; Ex. 22, ¶
             8
                                        Trade Secret No. 1 at the time of    123 n.180; Ex. 1; Ex. 2;
             9
                             the alleged Trade Secret No. 2 at the time of Ex. 4; Ex. 5; Ex. 6; Ex.
           10
                             the alleged misappropriation.                   8; Ex. 9.
           11
                 89.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           12
                             Plaintiffs had ownership of                     21, ¶¶ 31, 138; Ex. 22, ¶
           13
                                        Trade Secret No. 1 at the time of    123 n.180; Ex. 1; Ex. 2;
           14
                             the alleged Trade Secret No. 3 at the time of Ex. 4; Ex. 5; Ex. 6; Ex.
           15
                             the alleged misappropriation.                   8; Ex. 9.
           16
                 90.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           17
                             Plaintiffs had ownership of                     21, ¶¶ 31, 188; Ex. 22, ¶
           18
                                        Trade Secret No. 1 at the time of    123 n.180; Ex. 1; Ex. 2;
           19
                             the alleged Trade Secret No. 4 at the time of Ex. 4; Ex. 5; Ex. 6; Ex.
           20
                             the alleged misappropriation.                   8; Ex. 9.
           21
                 91.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           22
                             Plaintiffs had ownership of                     21, ¶¶ 234, 236 & n.162;
           23
                                        Trade Secret No. 1 at the time of    Ex. 22, ¶ 123 n.180; Ex.
           24
                             the alleged Trade Secret No. 6 at the time of 1; Ex. 2; Ex. 4; Ex. 5;
           25
                             the alleged misappropriation.                   Ex. 6; Ex. 8; Ex. 9.
           26
                 92.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           27
           28
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             1
                             Plaintiffs had ownership of                     21, ¶¶ 31, 89, 138, 188,
             2
                                        Trade Secret No. 1 at the time of    234, 236 & n.162, 261;
             3
                             the alleged Trade Secret No. 7 at the time of Ex. 22, ¶ 123 n.180; Ex.
             4
                             the alleged misappropriation.                   1; Ex. 2; Ex. 4; Ex. 5;
             5
                                                                             Ex. 6; Ex. 8; Ex. 9.
             6
                 93.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
             7
                             Plaintiffs had ownership of                     21, ¶¶ 31, 89, 138, 188,
             8
                                        Trade Secret No. 1 at the time of    234, 236 & n.162, 261;
             9
                             the alleged Trade Secret No. 8 at the time of Ex. 22, ¶ 123 n.180; Ex.
           10
                             the alleged misappropriation.                   1; Ex. 2; Ex. 4; Ex. 5;
           11
                                                                             Ex. 6; Ex. 8; Ex. 9.
           12
                 94.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           13
                             Plaintiffs had ownership of                     21, ¶¶ 264; Ex. 22, ¶ 123
           14
                                         Trade Secret No. 5 at the time of n.180; Ex. 1; Ex. 2; Ex.
           15
                             the alleged misappropriation.                   4; Ex. 5; Ex. 6; Ex. 8;
           16
                                                                             Ex. 9.
           17
                 95.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           18
                             Plaintiffs had ownership of                     21, ¶¶ 264, 297; Ex. 22,
           19
                                         Trade Secret No. 6 at the time of ¶ 123 n.180; Ex. 1; Ex.
           20
                             the alleged misappropriation.                   2; Ex. 4; Ex. 5; Ex. 6;
           21
                                                                             Ex. 8; Ex. 9.
           22
                 96.         Plaintiffs have not identified evidence that    Passamaneck Decl. Ex.
           23
                             Plaintiffs had ownership of                     21, ¶¶ 264, 297; Ex. 22,
           24
                                         Trade Secret No. 7 at the time of ¶ 123 n.180; Ex. 1; Ex.
           25
                             the alleged misappropriation.                   2; Ex. 4; Ex. 5; Ex. 6;
           26
                                                                             Ex. 8; Ex. 9.
           27
           28
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             1           d.                 Trade Secret Nos. 5 and 7-8 are general ideas, not true
             2                trade secrets.
             3
                 No.          Fact                                            Evidence
             4
                 97.                       Trade Secret No. 5 claims the      Passamaneck Decl. Ex.
             5
                              idea of                                         16, ¶¶ 642-643; Ex. 19,
             6
                                                                              ¶¶ 140-141, 145-147.
             7
                                                                     .
             8
                 98.          Plaintiffs’ expert does not identify anything   Passamaneck Decl. Ex.
             9
                              in               Trade Secret No. 5 that goes   16, ¶¶ 642-643; Ex. 19,
           10
                              beyond                                          ¶¶ 140-141, 145-147.
           11
           12
           13
           14
                 99.                       Trade Secret No. 7 claims          Passamaneck Decl. Ex.
           15
                                                                              16, ¶¶ 781, 783-788,
           16
                                                                              798-802; Ex. 18, ¶¶ 242-
           17
                                                                              247; Ex. 19, ¶¶ 192-195,
           18
                                                                              235-239, 244, 246; Ex.
           19
                                                                              29 at 375:7-376:24.
           20
           21
           22
                 100.         Plaintiffs’ expert does not identify anything   Passamaneck Decl. Ex.
           23
                              in               Trade Secret No. 7 that goes   16, ¶¶ 781, 783-788,
           24
                              beyond the                                      798-802; Ex. 18, ¶¶ 242-
           25
                                                                              247; Ex. 19, ¶¶ 192-195,
           26
                                                                              235-239, 244, 246; Ex.
           27
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             1
                                                                             29 at 375:7-376:24.
             2
             3
             4
             5
                 101.                      Trade Secret No. 8 claims         Passamaneck Decl. Ex.
             6
                                                                             16, ¶¶ 814, 819; Ex. 18,
             7
                                                                             ¶¶ 249, 251-259; Ex. 19,
             8
                                                                             ¶¶ 274-275; Ex. 7.
             9
                 102.        Plaintiffs’ expert does not identify anything   Passamaneck Decl. Ex.
           10
                             in               Trade Secret No. 8             16, ¶¶ 814, 819; Ex. 18,
           11
                                                                             ¶¶ 249, 251-259; Ex. 19,
           12
                                                                             ¶¶ 274-275; Ex. 7.
           13
           14
           15
           16            e. Plaintiffs’ “value, importance, and appropriateness” alleged trade
           17                secrets describe general ideas, not true trade secrets.
           18
                 No.         Fact                                            Evidence
           19
                 103.        Plaintiffs have not provided any explanation Ex. 15, ¶¶ 168-169, 193-
           20
                             for the meaning of “value” as recited in        194, 233-234, 259-260,
           21
                                                                   Trade     294-295, 317-318, 339-
           22
                             Secret No. 16.                                  340, 362-363, 384-385,
           23
                                                                             408-409, 433-434.
           24
                 104.        Plaintiffs have not provided any explanation Ex. 15, ¶¶ 168-169, 193-
           25
                             for the meaning of “importance” as recited      194, 233-234, 259-260,
           26
                             in                                      Trade   294-295, 317-318, 339-
           27
           28
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             1
                             Secret No. 16.                                  340, 362-363, 384-385,
             2
                                                                             408-409, 433-434.
             3
                 105.        Plaintiffs have not provided any explanation Ex. 15, ¶¶ 168-169, 193-
             4
                             for the meaning of “appropriateness” as         194, 233-234, 259-260,
             5
                             recited in                                      294-295, 317-318, 339-
             6
                                              Trade Secret No. 16.           340, 362-363, 384-385,
             7
                                                                             408-409, 433-434.
             8
                 106.        Plaintiffs have not provided any explanation Ex. 15, ¶¶ 457-458, 480,
             9
                             for the meaning of “value” as recited in        555-556, 577-578, 607-
           10
                                           Trade Secret No. 10.              608, 638-639.
           11
                 107.        Plaintiffs have not provided any explanation Ex. 15, ¶¶ 457-458, 480,
           12
                             for the meaning of “importance” as recited      555-556, 577-578, 607-
           13
                             in               Trade Secret No. 10.           608, 638-639.
           14
                 108.        Plaintiffs have not provided any explanation Ex. 15, ¶¶ 457-458, 480,
           15
                             for the meaning of “appropriateness” as         555-556, 577-578, 607-
           16
                             recited in              Trade Secret No. 10.    608, 638-639.
           17
                 109.        Plaintiffs have not provided any explanation Ex. 15, ¶¶ 755-756, 795-
           18
                             for the meaning of “value” as recited in        796, 819-826, 833-834.
           19
                                                Trade Secret No. 6.
           20
                 110.        Plaintiffs have not provided any explanation Ex. 15, ¶¶ 755-756, 795-
           21
                             for the meaning of “importance” as recited      796, 819-826, 833-834.
           22
                             in                    Trade Secret No. 6.
           23
                 111.        Plaintiffs have not provided any explanation Ex. 15, ¶¶ 755-756, 795-
           24
                             for the meaning of “appropriateness” as         796, 819-826, 833-834.
           25
                             recited in                   Trade Secret
           26
                             No. 6.
           27
           28
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             1
                 112.        Plaintiffs have not provided any explanation Ex. 20, ¶¶ 175, 192,
             2
                             for the meaning of “value” as recited in        297, 302, 372, 377, 462,
             3
                                                     Trade Secret No. 8.     467, 570, 575.
             4
                 113.        Plaintiffs have not provided any explanation Ex. 20, ¶¶ 175, 192,
             5
                             for the meaning of “importance” as recited      297, 302, 372, 377, 462,
             6
                             in                        Trade Secret No.      467, 570, 575.
             7
                             8.
             8
                 114.        Plaintiffs have not provided any explanation Ex. 20, ¶¶ 175, 192,
             9
                             for the meaning of “appropriateness” as         297, 302, 372, 377, 462,
           10
                             recited in                        Trade         467, 570, 575.
           11
                             Secret No. 8.
           12
                 115.        Plaintiffs have not provided any explanation Ex. 20, ¶¶ 659, 662.
           13
                             for the meaning of “value” as recited in
           14
                                                  Trade Secret No. 7.
           15
                 116.        Plaintiffs have not provided any explanation Ex. 20, ¶¶ 659, 662.
           16
                             for the meaning of “importance” as recited
           17
                             in                      Trade Secret No. 7.
           18
                 117.        Plaintiffs have not provided any explanation Ex. 20, ¶¶ 659, 662.
           19
                             for the meaning of “appropriateness” as
           20
                             recited in                     Trade Secret
           21
                             No. 7.
           22
           23
                         f. If Mr. Kinrich’s report is struck or excluded, Plaintiffs have no
           24
                             evidence to support their claim for lost profits
           25
           26    No.         Fact                                            Evidence
           27    118.        This Court excluded the Rule 26(a)(2)(B)        Dkt. 1031 at 5-6, 10.
           28
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             1
                             disclosure of Mr. Pridell.
             2
                 119.        This Court excluded the portions of the Rule Dkt. 1031 at 5-6, 10.
             3
                             26(a)(2)(B) disclosure of Mr. Muhsin
             4
                             related to Plaintiffs’ lost profits theory.
             5
                 120.        This Court excluded the following specific      Dkt. 1031 at 11.
             6
                             alleged facts:
             7
             8
             9
           10
           11
           12
           13
                                                                 .
           14
                 121.        Mr. Kinrich’s lost profits opinions rely on     Dkt. 1031 at 6, 11-13;
           15
                             the material excluded by this Court’s Rule      Ex. 25, §§ 2.2-2.4, at 4-
           16
                             26 ruling.                                      11.
           17
                 122.        Plaintiffs’ lost profits case depends on Mr.    Ex. 23, ¶¶ 60-139; Ex.
           18
                             Kinrich’s opinions.                             24, ¶¶ 2-11; Ex. 25, §§
           19
                                                                             2.2-2.4, at 4-11.
           20
                         g. The Court has dismissed 4 alleged Trade Secrets and Plaintiffs have
           21
                             abandoned 14 alleged Trade Secrets
           22
           23    No.         Fact                                            Evidence
           24    123.        Plaintiffs have abandoned                       Passamaneck Decl. Ex.
           25                                      Trade Secret Nos. 2 and 15, ¶ 85; Ex. 27.
           26                4-7.
           27    124.        Plaintiffs have abandoned                       Passamaneck Decl. Ex.
           28
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             1
                               Trade Secret Nos. 1-3, 6, and 9.                  15, ¶ 85; Ex. 27.
             2
                  125.                       Trade Secret Nos. 1-3, 6, and 9 Passamaneck Decl. Ex.
             3
                               are incorporated in                Trade          19, ¶ 318.
             4
                               Secret No. 10.
             5
                  126.         Plaintiffs have abandoned                         Passamaneck Decl. Ex.
             6
                               Trade Secret Nos. 1-3.                            15, ¶ 85.
             7
                  127.         Plaintiffs have abandoned                         Passamaneck Decl. Ex.
             8
                                          Trade Secret No. 5.                    20, ¶ 60.
             9
                  128.         The Court dismissed Plaintiffs’                   Dkt. 350 at 5-8.
           10
                                           Trade Secret Nos. 1-4.
           11
                                        PROPOSED CONCLUSIONS OF LAW
           12
                         1.   In order to prevail on their claim under the California Uniform Trade
           13
                 Secret Act (“CUTSA”), a trade secret plaintiff must at least show that they possessed
           14
                 the alleged trade secret at the time of the alleged misappropriation. Bladeroom Grp. v.
           15
                 Facebook, Inc., 219 F. Supp. 984, 990 (N.D. Cal. 2017); see also Jasmine Networks,
           16
                 Inc. v. Superior Court, 180 Cal. App. 4th 980, 993, 997 (2009).
           17
                         2.   While Plaintiffs have alleged that they had possession over each of the
           18
                 asserted trade secrets, the undisputed evidence shows otherwise. Specifically,
           19
                 Plaintiffs have not identified a single instance in which any one of the purported trade
           20
                 secrets was in its entirety identified or written down prior to this litigation.
           21
                         3.   If there are multiple trade secret plaintiffs, the requirement to show
           22
                 possession necessarily includes an obligation to show which plaintiff possessed which
           23
                 purported trade secret. If no single plaintiff can show they possessed the claimed trade
           24
                 secret or secrets at the time of the purported misappropriation, plaintiffs have logically
           25
                 not met their burden to show possession.
           26
           27
           28
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             1         4.     Prior to a November 23, 2022 supplemental response to Apple
             2   Interrogatory No. 33, Plaintiffs had not attempted to show which Plaintiff possessed
             3   which purported trade secret. Even if the November 23 supplemental response is not
             4   struck, the evidence it identifies (                           that do not discuss the
             5   specific purported trade secrets at issue in this litigation) do not establish which
             6   Plaintiff possessed which purported trade secret.
             7         5.     California law, properly construed, requires more than a showing of
             8   possession. A CUTSA plaintiff must show that they “owned the trade secret.” See,
             9   e.g., AMN Healthcare, Inc. v. Aya Healthcare Servs., Inc., 28 Cal. App. 5th 923, 942
           10    (2018) (emphasis added); see also Sargent Fletcher, Inc. v. Able Corp., 110 Cal. App.
           11    4th 1658, 1665 (2003) (same); Humphreys & Assocs., Inc. v. Cressman, 2015 WL
           12    12698428, at *3 (C.D. Cal. Aug. 31, 2015) (same); Mattel, Inc. v. MGA Ent., Inc., 782
           13    F. Supp. 2d 911, 960 (C.D. Cal. 2011) (same); Dkt. 264 at 4 (similar).
           14          6.     Prior to a November 23, 2022 supplemental response to Apple
           15    Interrogatory No. 33, Plaintiffs had not attempted to show Plaintiffs owned the
           16    purported trade secrets. Even if the November 23 supplemental response is not struck,
           17    the evidence it identifies does not establish which Plaintiff owned the purported trade
           18    secrets.
           19          7.     “Ideas or concepts are not, in and of themselves, trade secrets.” Masimo
           20    Corp. v. True Wearables, Inc., 8:18-cv-02001-JVS-JDE (C.D. Cal. Nov. 7, 2022), Dkt.
           21    No. 600, ¶ 99. Rather, the CUTSA requires that a trade secret be “actual, not
           22    theoretical” and “specific, not general.” XpertUniverse, Inc. v. Cisco Sys., Inc., 2013
           23    WL 867640, at *3 (D. Del. Mar. 8, 2013) (applying California law). In cases
           24    “‘involving technical or scientific information” where the plaintiff is attempting to
           25    “distinguish the alleged trade secrets from information already known in the field,” “a
           26    more exacting level of particularity may be required to distinguish the alleged trade
           27
           28
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             1   secrets from matters already known to persons skilled in that field.” Calendar Rsch.,
             2   LLC v. StubHub, Inc., 2020 WL 4390391, at *5 (C.D. Cal. May 13, 2020).
             3         8.      Plaintiffs have not provided evidence establishing that                 Trade
             4   Secret Nos. 5 and 7-8 claim anything beyond general ideas and concepts.
             5         9.      As part of the broader requirement that a trade secret plaintiff may not
             6   claim general ideas or concepts, plaintiffs are barred from using catch-all phrases when
             7   describing their trade secrets. See Imax Corp. v. Cinema Techs., Inc., 152 F.3d 1161,
             8   1170 (9th Cir. 1998) (“dimensions and tolerances”); X6D Ltd. v. Li-Tek Corps., 2012
             9   WL 12952726, at *8 (C.D. Cal. Aug. 27, 2012) (“Ornamental Appearance, Color, and
           10    Material”).
           11          10.     Plaintiffs have not provided evidence clarifying what is covered by the
           12    terms “value, importance, and appropriateness” in
           13    Trade Secret No. 16,                      Trade Secret No. 6,                       Secret
           14    No. 10,                           Trade Secret No. 8, and                          Trade
           15    Secret No. 7.
           16          11.     This Court has held that the FRCP 26(a)(2)(C) disclosures of Mr. Priddell
           17    and Mr. Muhsin—along with the newly disclosed damages theories contained within—
           18    should be excluded under FRCP 37(c)(1).
           19          12.     To the extent that Apple establishes that Mr. Kinrich’s lost profits analysis
           20    relies on either the struck disclosures or the underlying late-disclosed information, it
           21    too should be struck.
           22          13.     Because Mr. Kinrich currently offers the only evidentiary support for
           23    Plaintiffs’ lost profits theory, if Mr. Kinrich is precluded from offering his lost profits
           24    opinion, Plaintiffs cannot establish a genuine question of material fact remains
           25    regarding their entitlement to that relief. ChromaDex, Inc. v. Elysium Heath, Inc.,
           26    2020 WL 1279236, at *8 (C.D. Cal. Jan. 16, 2020); Goodness Films, LLC v. TV One,
           27    LLC, 2014 WL 12594201, at *2-4 (C.D. Cal. Aug. 28, 2014).
           28
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             1
             2   Dated: December 19, 2022              Respectfully submitted,

             3
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